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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,
                                                   Criminal No.: 1:21-cr-575 (JDB)

 -v-                                               DEFENDANTS LESPERANCE et. Al’s
                                                   CONSENT MOTION FOR EXTENSION
 DAVID JOHN LESPERANCE, CASEY                      OF TIME TO FILE REPLIES TO
 CUSICK, and JAMES VARNELL                         GOVERNMENT’S MOTIONS
 CUSICK, JR.,

                       Defendants.

       Defendants David John Lesperance, Casey Cusick, and James Varnell Cusick, Jr., with

the United States’ consent, hereby moves for a 7-day extension of time for Defendants to file

their replies to the Government’s opposition. The current reply deadline is March 6, 2023.

   WHEREFORE, Defendants David John Lesperance, Casey Cusick, and James Varnell

Cusick, Jr. respectfully requests that the Court extend the date by 7 days, to submit replies to the

Government’s opposition. The United States consents to this request.



Date: March 6, 2023                   Respectfully Submitted,


                                              /s/ John M. Pierce

                                              John M. Pierce
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                                              Attorney for Defendant
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                               CERTIFICATE OF SERVICE

I, John M. Pierce, hereby certify that on this day, February 06, 2023, I caused a copy of the
foregoing document to be served on all counsel through the Court’s CM/ECF case filing system.


                                                          /s/ John M. Pierce
                                                         John M. Pierce
